

Casillas-Reyes v John (2021 NY Slip Op 06943)





Casillas-Reyes v John


2021 NY Slip Op 06943


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Gische, J.P., Webber, Oing, Singh, Higgitt, JJ. 


Index No. 33642/18E Appeal No. 14845 Case No. 2021-00337 

[*1]Ada Casillas-Reyes, Plaintiff-Respondent,
vJefferson John et al., Defendants-Respondents, Andrew M. More et al., Defendants-Appellants.


Keane &amp; Bernheimer, PLLC, Valhalla (Joel Bekker of counsel), for appellants.
Law Office of Lee Greenstein, Delmar (Lee Greenstein of counsel), for Ada Casillas-Reyes, respondent.
Smith Mazure Director Wilkins Young &amp; Yagerman, P.C., New York (Louise M. Cherkis of counsel), for Jefferson John and NMJ transportation, Inc, respondents.



Order, Supreme Court, Bronx County (Mary Ann Brigantti, J.), entered January 19, 2021, which, to the extent appealed from as limited by the briefs, denied defendants Andrew M. More and Robert J. More's motion for leave to renew their motion for summary judgment dismissing the complaint and all cross claims against them, unanimously affirmed, without costs.
The "new facts" on which defendants Andrew M. More and Robert J. More based their motion for leave to renew their summary judgment motion are not material and
would not change the prior determination (CPLR 2221[e][2]; see Foley v Roche , 68 AD2d 558, 568 [1st Dept 1979]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








